 

Case 19-10289-LSS Doc 165 Filed 03/08/19 Page 1 of 3

___\__\_§_____

 

._W/WH\____N…F w®w§__\

\
\<Yv$mw\\<\ \_,_\_.MWWM\\\N\W

 

 

 

_, j _/_J,§ ZI._N__NSF 46>_,:<% /\3_>_:¢U (<Q:i…_ Q\V
: _|w@_§\_\_%, wh _\_.EW§___\ W,__ 9 _\_7
__ __ $___N §_s\_w

 

J_ou. Ywm§&m

§§¢§@ w:§>

§§ ________

 

 

 

 

 

 

 

 

,,., _ /r /0/§$@ .__OJ\S/Z,
__ __ §§ ____________ d _____________ _________W;
; // __ ? ¢HQQ;U© J\G\N( <;Q\
_ ,,, __________ ,__,__z ________ §§
, T/
§§ rl>éf$\_ O:@r_n\$§,@ ,><c d
__ ___________ e__?_; r____.\\_ ________
___ _ _ A_____\ _\_H___ __ _ \ ___\_\C § M\__M\ Q
__ f. F__ _ \_ § _
\_. ____ ¢___w\) W ..W\."\H\ my X §§ \F…WH_\_…W
__ _________ ___ MW\\ »_____K__\w__…\\\ ___i.__…\ FW\\\T~\\

§MN/ ___\_\_\_ ___NJ

 

W§__:…_____ _\_…_ \,____

 

mm :
______ ___ N¢_____ 2_______ w ___ ______ ____

A_…_QK\.W:.HK d\uw_w_;§ww.

»\m ,__…,_m\_______

_\_:___Q____._

V_\»_YWN

 

 

UZHHZH@HML§ HZM=AU

 

§<.§oo mo §§ bid

 

 

§Z

 

HD_,…;._OZ .BAHU§OU nam HOZZ<Q QQZ§HMLQ mD©V M© W§HQU HZEM de_mw~m

m n.OZ zOOMHM»DOQ

 

 

mfw\m _mEL<D

mmA owmo¢@

.OZ mm<@

 

HHH…_…~@ ZH-ZUH@

63 doi@§ QHH m>.BEH

U§<Z mm<©

 

Case 19-10289-LSS Doc 165 Filed 03/08/19 Page 2 of 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m va _‘ @mmn_ SQN_SEOU:_SU gm ea 535 Sm§
>JZO
zw,_.m._._ _` wt._E,m_n_
B:._E "§o.&ma hm£o
>cmE uaw .wEm..snm 66 www_\-oww wo~m>m._mx .QE ,SEE<
_m._mw .~:mt. .@EE_E& .o:_ mhcmwu_mo com:_nom 8me i_ cm§mv_ _.m@ vm@m \». mccme mwNo _.-m_. o_m._, Qc@c._m
m_>_._ \ :E._o_o_._ 63 @mmm-w I» cmco_oI \ .uc_ “wo.:mE<
§§ §§ BUQQC_ 95an §§ .1 v_§§ E§m@m \, mccme SNE-B o_m._. QSE_
>._ZO
zm_._.w_»_ .~ .uc_ .m£._m&< 6$.. oobh-_.mm voo>>>mr .uE .mocmE<
u_m._. wB@E_ sopan <.nw _._mm_._E w co§m¢d .mu\_mc£w_ ANOQ ._2 rm~m won mm \W mctmoI mwmo_um_. uwm._. mEmE_
>.,_ZO
zmpm"._ § .0§ .S%E< 63 ammw-§ .0_.__ .§_ws_<
udm._. mEmEm .._oEmn_ n~¢_._ w£v=m>> m Em£m._ Am§y cmm:mI n_ E,>mcm Nw¢mmmm mccmmI mwmo T@_\ o_m.w w>._mE_
m_>_._`_ 66 mmmb...oww .oc_ “mosz<
mwz_.wcm wEn>O 625th a._._ wc§_m w com£> .,.._l.ww *mwmc@ mcm._m£mv_ v@mm m \> m:cmmI gmc Tm_‘ o_mh wEmE_
>JZO
zw.~.mj _` mmmmn_ - 6$ hmwm-_.¢m .oc_ _moc@E<
§§ @BEB_Q ,m,vm§ §§ §ES_Q §§ __6 §§ ~m$m@m\/ m§mm_._ _ SNE.-E 23 wam§_
>._zO Zm.wmj
\ n_._._ .§._mm__m® w hmw 63 wm§.wwh .oc_ _moc@c__<
w,v__§> §§ BE.&B§ aj §mm=m@ w t§ ¢._v___s> §§ cm§§ _ _¢E§ §mm@m m¢t§_._ KNE-E 23 w>GE_
>._zO
Zm._..mj _` n_._._ ¥o_cu:~_ .§m mmmw.mmw .o:_ dotmc._<
§§m §§ UBBBE_ aj v_§§m §§m §§ §§ m=_mz Emom@m \r mccme %NE-Q. U_E QSE_
>._zO zm._.wj `_ nm..§ \
§=§w w cem£t@: 63 ~mmm-mwm .o=_ _SEE<
,v_oEO _>cma wm~wEmE_ n_._._ mE_oEm w cBm_._EmI ,v_um.cO 308 .mwv_wn_ i_ §an mmmv¢mm mc_‘_mmI mwmo _.-m_. o_m._. w>._mE”
>JZO
zm._.m_._ _` mc_~_mmcoo 66 I.mm-mm.v .u:_ .mo.cwE<
_h_ §§ v£$§:_ us .m§_gw§o § §§ §§ §§ch oowmm@@ \> m§m§ 3~2-9 0_£. m§§
>._zO zm\_.w_.,_
` >cmanO mocm§w£ A>mm._mw >>mzw a._._ 63 m_\wm-@mm .oc_ .moum..c<
EEW__< §§ UB$BE_ ton_._w§>_ w wcm._ §§ wEE_>> §§ m._Eo x >§_E< w@©mm@m \/ mc_§_._ mw%v? 23 §§
~SZO \
zm_._.w_.:. nj._ mEv_§,> .w 66 vmmv¢mm.v .uc_ .mucmE<
Em£ml_ _B.En_ bm~m§wt.__ alj wc§m>> w Em£mlm 8 § vuon tm_. _.mmmmmm mccmmI mwwo _.-mv o_m._. mEmE_
m:r:mmm.&mm wEmz E._E ¢co:aw_w._. mc.:mmaa< n__ n_n_< mEuwmuoE n wwmo oEmz wwmo w EB_ n umwa

 

§§m..@ &Q~ w as \%§mo B.S@E<

Emu`m._m>=w .~®n_@w mt:ml_ m~_n_@oco_¢_ E 5_<3§‘

mvoN`wQ.mo

HQEP E_vcm_mo

m_:_om£om moc§mmaa< o_cocam_m._. vaEcoO §§ E_S@_mo

Qm>>m_mm_.t:oo >o§:§cmm_ .m.D mocm§mu&oo 6300

 

Case 19-10289-LSS Doc 165 Filed 03/08/19 Page 3 of 3

 

 

 

 

 

 

 

 

 

 

 

 

 

m v,o m @mwn_ moo~aoeoo§oo mow ss _$Sm 595
m>_._ _`>:mQEoO
mocm.§wc_ .._SEWE< Om 66 ©wow.omm .uE _mocmE<
:m%< _B§Qo *_BEOEQ_@ w §§;Ew mmmfo §§ §§ d room ;§~@@ \» §Emz mm~€-? 25 95§
>._zo zm\rm_._
;cmano macm_:w,.:
~mcozmc _EEQQ
w _EmnEoO mocm§m§ 63 hmmm-vww .uc_ .wuuw§<
%§N §mn_ BEQEE_ aj m§§ a __m§€o §§ §§ 203 @m@mm@m \> mc§@z 33 _‘.2 u_£. w§§_
520
zm:m_._ `_ .E_ .SEE< ea QN£-EQ \ 65 .S:me<
Q_m._, w>_@§ 553 05 .B_JE< u_m._. QSE_ §§ §§ gm> §§ NS$@@ \>. m=.=m,..i §§ §§ ume wa@E_
>._zo
zm:m_,_ § .OE .SEE< ea wm£-§w 2532me \ _o=_ ,SEE<
23 mame 533 n_._._ w§_~m§ w Em£m._ §§ mayor womom@@ m§mm: WNE@ o_m._. Q€E_
m>_._ § wathch ea I §-www .u=_ .S.%E<
2sz gm §§qu n_,: §Em §§ §§ amgw § _:mn_ @@§3@ mc§m_._ BNQ.-E Q_E. wam&_
>.Mzo
zm:.m_.: 05 .BEE< ea NNQ.;SQ 55 _SEE<
u_E. YOE_ 553 aj m§§_,> w Em£m._ §§ §§ §BE_V__ QSSY. \> mccm@r SNS-Q 23 mam&_
>._zo
szw: § §__FE .w ea EE,N£ 65 .SEE<
§§ §§ §§3=_ §B§o .m_m%én w §§ §§ §§ w §§ § 33 \/ m=_a$_ m§:-@ 05 wamE_
>._zo szw_.._ \
.` 52_._3 w SQEE. e@ mv_‘m.@@m .o=_ "SEE<
§§ EBYQE_ n_.j §__Bzm w SHEEI .%EO §§ 5§@_>_ §§ §@¢§m m§mmr @wNE-Q 23 wame
w>_._ _` >oxmm>_ .0 .~xm o _\le©~.m .uc_¢.mlw:um&<
Y_En_ §mn_ BUQQE_ nm._._ ms 2255 §§ §§ .o v_oEmnw Sw,mm@m \J m=§mr 33 22 U_E QEE_
m>_.: do z_§mmo § §z__pw wm§m@%_s_ e@ EB-@§ _ww>§ § .uc_ §Ee<
m_.g§_oo ,méc¢$aww_ @Eo£ §§ $UES_z §§ .o §£H_>_ »mm¢m@ \» m:.§wr §§ § Q_E QEE_
§zo zm_»w_._ \ \
_m wm _coum._o&oo wmc§ 63 ov@@-mmm Ema&._ .uc_ ,muc@&<
396 §§ SHEBE n_._,_ .E§m_ w SES §§ .m £Em.aom t%m@m\/ mc.§m_._ mm~?-@ 23 395
>._zo \
szm_._ §§ §_%o ea Emw-%» .u¢_ .SEE<
995 §§ EV,EUE_ 5 _§n_mo m§_._< §§ user 353 $m¢m@m §§I 3~2-2 §§ §§

 

 

